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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


   NINA AGDAL,                                            Civil No. 23-16873 (MCA)(MAH)

                           Plaintiff,
                                                           NOTICE OF APPEARANCE
   - vs –

   DILLON DANIS,

                           Defendant.


            The undersigned hereby appears as counsel of record for Defendant Dillon Danis.


                                                       /s Kelly A. Zampino
                                                       Kelly A. Zampino, Esq.
                                                       HARTMANN DOHERTY ROSA
                                                       BERMAN & BULBULIA, LLC
                                                       433 Hackensack Avenue, Suite 1002
                                                       Hackensack, NJ 07601
                                                       t: 201-441-9056
                                                       e: kzampino@hdrbb.com
                                                       Attorneys for Defendant

  Dated: October 24, 2023
